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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 21-20717-CIV-SCOLA/Goodman

  TANIA RODRIGUEZ and FREDIS POSADAS,

         Plaintiffs,

  V.
                                                                              .APR O9 :202·1
  UNITED STATES OF AMERICA,

         Defendants.
  -------------------I
                  PLAINTIFF'S RESPONSE TO THE ORDER TO SHOW CAUSE


  Filed by: CassidyL. Loutos, Esq., Loutos Law, PLLC.

         In response to Docket item #14 the ORDER TO SHOW CAUSE filed on March 29, 2021 by

  the Honorable Judge Robert N. Scola, Jr., Plaintiffs Attorney Cassidy Loutos, Esq., 'respectfully

  apologizes and submits the following facts as to why Plaintiff requests the Court refrain from referring

  Plaintiffs Attorney to the Committee on Attorney Admissions, Peer Review, and Attorney Grievance

  to participate in the Committee's "remedial program designed to raise the competence of an attorney

  who is not performing adequately."

          1. Plaintiffs Counsel had previously filed the underlying cause of action in the Eleventh

              Judicial Circuit in and for Miami-Dade in September of 2020.



          2. The case was removed to the US District Court for the Southern District of Florida on

              February 22, 2021.


          3. Counsel applied and was granted admission to the US District Court for the Southern

              District on January 19, 2021.

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          4. Following admission and set-up of the PACER viewing login, Counsel learned she would

              have to take a training for the CM/ECF training which was only offered once per month

              via zoom as the online computer-based CM/ECF training and hands-on training which

              were unavailable. 1



          5. Plaintiffs Counsel was unable to take the February 2021 CM/ECF training as her autistic

              adult brother who she cares for was critically ill in the hospital on a ventilator and Counsel

              had the responsibility to help bring him home and care for him after discharge as he was

              a fall risk, mentally incompetent, and he could not utilize the restroom without assistance.

              As such, Counsel did not get the opportunity to take any trainings prior to April 8 due to

              her dependent brother's critical health condition,.


          6. In an attempt to rectify Counsel's lack of filing capability, Counsel called the CM/ECF

              helpdesk and requested a temporary login; she was informed however that no temporary

              logins would be issued.


          7. Counsel scheduled a CM/ECF training on April 8, 2021 with the intention to become

              proficient in the filing system and with the intention to get a CM/ECF login so Plaintiffs

              Counsel could file documents in the underlying cause of action.


          8. On the date of this submission, Counsel has since completed the training and is waiting

              for a CM/ECF login to be issued.




  1 According to https:/ /www.flsd.uscourts.gov/cmecf-training-registration, effective January 12,
  2021, the Southern District revised their training protocols. With this change, new attorneys are
  limited in accessing the training. It appears the training is once a month. Further, it also appears it
  would take three (3) days to receive the CM/ECF login credentials according to the training site.

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          9. Counsel has been practicing as Florida-barred attorney since May of 2015 and has never

               received any complaints or grievances related to professionalism or competency issues.



          10. As a newly admitted attorney to the US District Court for the Southern District of Florida,

               Counsel has every intention to act with professionalism and to advocate for her clients

               while following all local rules and CM/ECF policies and procedures.



          11. Plaintiff's Counsel apologizes for the lack of response to the Court's requests for response

               on March 17, 2021 and March 22, 2021; Plaintiff's Counsel can assure the Court that

               Counsel was not ignoring the Court and can assure the Court that the lack of response will

               never happen again.



          12. Counsel has the utmost respect for the Court's time, resources, and instructions and

               promises to file everything via the CM/ECF per the Court's rules.



          13. Plaintiff's Counsel apologizes for the inappropriate request for additional time to respond

               to Defendant's Motion to Dismiss and is very sorry for the lack of communication.

                                       CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a copy of the foregoing was electronically e-filed through the Clerk of

  Court using the CMECF system, this Friday, April 9, 2021, which automatically sends a correct copy by

  email   to    opposing    counsel,   to     Latoya    Brown,         Esq.   at   Latoya.Brown2@usdoj.gov,

  haydee.sanchez@usdoj.gov.


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                                            Isl Cassidy Loutos, Esq.                    I 11   &"S- G
                                            Cassidy L. Loutos, Esq.
                                            Florida Bar# 116569
                                            Loutos Law, PLLC

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                               1193 SE Port St. Lucie Blvd. #234
                               Port St. Luc~e, Florida 34957
                               P: 772-617-0811
                               F: 772-212-2761
                               Email: cassidy@loutoslaw.com
                               Attorney for Plaintiff




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